Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 1 of 14




NEWMAN DECLARATION:
     EXHIBIT B
Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 2 of 14
Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 3 of 14




NEWMAN DECLARATION:
     EXHIBIT C
                 Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 4 of 14

                                                   Idaho Vital Statistics Natality Dashboard

                       VS Natality -                 VS Natality - Data        VS Natality - Rate      VS Natality - Age         VS Natality -
                       Introduction                  Results, 2010-2020        Trends, 2010-2020       Rate Trends,              Technical Notes
                                                                                                       2010-2020




Birth, Infant and Demographic Data

Category                                                                   Year                                       Location
Use this filter to select category                                         Use this filter to select year             Use this filter to select Idaho (All) or PHD
Maternal Pre-Pregnancy BMI                                                 2020                                       All


                                                            2020 All Idaho Resident Births: 21,540
                                                                 Maternal Pre-Pregnancy BMI

                         Underweight                           Normal weight                      Overweight                            Obese

                                572                               9,086                             5,662                               5,922
                               2.7%                               42.8%                             26.7%                               27.9%


        Directions for using table filter: click on category value in table above to filter value into bar graph and Idaho PHD map data below; click on
                                                    category value in table a second time to de-activate filter.

 AGE
 0-14                      8                                                                          Idaho Resident Public Health Districts (PHD)
                                                                                                                Hover pointer over map for PHD data
 15-17                     196

 18-19                     713

 20-24                          4,918

 25-29                               7,021

 30-34                           5,504
                                                                                                      PHD 1
 35-39                      2,613                                                                     2,631

 40+                       566


 MARITAL STATUS

 Married                                         15,561


 Not Married                     5,949
                                                                                                              PHD 2
                                                                                                              1,103
 ETHNICITY

 Non-Hispanic                                      17,771


 Hispanic                      3,685


 RACE                                                                                                                          PHD 7
 White                                              19,076                                                                     3,683
                                                                                                            PHD 4
                                                                                                            5,426
 Black                     360
                                                                                                    PHD 3
                                                                                                    4,001
 AIAN                      318

 API                       493                                                                                                PHD 5
                                                                                                                              2,491                PHD 6
 Other Race                1,145                                                                                                                   2,205

                            0            5,000        10,000     15,000        20,000       © 2022 Mapbox © OpenStreetMap
                                                     Number of Births
                 Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 5 of 14

                                                   Idaho Vital Statistics Natality Dashboard

                       VS Natality -                  VS Natality - Data       VS Natality - Rate      VS Natality - Age         VS Natality -
                       Introduction                   Results, 2010-2020       Trends, 2010-2020       Rate Trends,              Technical Notes
                                                                                                       2010-2020




Birth, Infant and Demographic Data

Category                                                                   Year                                       Location
Use this filter to select category                                         Use this filter to select year             Use this filter to select Idaho (All) or PHD
Maternal Pre-Pregnancy BMI                                                 2019                                       All


                                                           2019 All Idaho Resident Births: 22,066
                                                                Maternal Pre-Pregnancy BMI

                         Underweight                           Normal weight                      Overweight                            Obese

                                595                               9,354                             5,849                               5,971
                               2.7%                               43.0%                             26.9%                               27.4%


        Directions for using table filter: click on category value in table above to filter value into bar graph and Idaho PHD map data below; click on
                                                    category value in table a second time to de-activate filter.

 AGE
 0-14                      8                                                                          Idaho Resident Public Health Districts (PHD)
                                                                                                                Hover pointer over map for PHD data
 15-17                     188

 18-19                     729

 20-24                           5,140

 25-29                               7,180

 30-34                            5,572
                                                                                                      PHD 1
 35-39                      2,708                                                                     2,681

 40+                       541


 MARITAL STATUS

 Married                                          16,063


 Not Married                      5,968
                                                                                                              PHD 2
                                                                                                              1,136
 ETHNICITY

 Non-Hispanic                                       18,279


 Hispanic                       3,703


 RACE                                                                                                                          PHD 7
 White                                               19,489                                                                    3,850
                                                                                                            PHD 4
                                                                                                            5,515
 Black                     374
                                                                                                    PHD 3
                                                                                                    3,804
 AIAN                      342

 API                       490                                                                                                PHD 5
                                                                                                                              2,734                PHD 6
 Other Race                1,251                                                                                                                   2,346

                            0             5,000       10,000     15,000        20,000       © 2022 Mapbox © OpenStreetMap
                                                     Number of Births
                 Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 6 of 14

                                                  Idaho Vital Statistics Natality Dashboard

                       VS Natality -                VS Natality - Data        VS Natality - Rate      VS Natality - Age         VS Natality -
                       Introduction                 Results, 2010-2020        Trends, 2010-2020       Rate Trends,              Technical Notes
                                                                                                      2010-2020




Birth, Infant and Demographic Data

Category                                                                  Year                                       Location
Use this filter to select category                                        Use this filter to select year             Use this filter to select Idaho (All) or PHD
Maternal Pre-Pregnancy BMI                                                2018                                       All


                                                           2018 All Idaho Resident Births: 21,406
                                                                Maternal Pre-Pregnancy BMI

                         Underweight                          Normal weight                      Overweight                            Obese

                                617                              9,366                             5,542                               5,589
                               2.9%                              44.4%                             26.2%                               26.5%


        Directions for using table filter: click on category value in table above to filter value into bar graph and Idaho PHD map data below; click on
                                                    category value in table a second time to de-activate filter.

 AGE
 0-14                      4                                                                         Idaho Resident Public Health Districts (PHD)
                                                                                                               Hover pointer over map for PHD data
 15-17                     211

 18-19                     760

 20-24                          5,104

 25-29                            6,975

 30-34                          5,338
                                                                                                     PHD 1
 35-39                     2,538                                                                     2,546

 40+                       469


 MARITAL STATUS

 Married                                        15,617


 Not Married                     5,758
                                                                                                             PHD 2
                                                                                                             1,095
 ETHNICITY

 Non-Hispanic                                     17,796


 Hispanic                      3,548


 RACE                                                                                                                         PHD 7
 White                                             18,879                                                                     3,780
                                                                                                           PHD 4
                                                                                                           5,432
 Black                     318
                                                                                                   PHD 3
                                                                                                   3,674
 AIAN                      315

 API                       479                                                                                               PHD 5
                                                                                                                             2,625                PHD 6
 Other Race                1,349                                                                                                                  2,254

                            0           5,000        10,000     15,000        20,000       © 2022 Mapbox © OpenStreetMap
                                                    Number of Births
                 Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 7 of 14

                                                  Idaho Vital Statistics Natality Dashboard

                       VS Natality -                 VS Natality - Data       VS Natality - Rate      VS Natality - Age         VS Natality -
                       Introduction                  Results, 2010-2020       Trends, 2010-2020       Rate Trends,              Technical Notes
                                                                                                      2010-2020




Birth, Infant and Demographic Data

Category                                                                  Year                                       Location
Use this filter to select category                                        Use this filter to select year             Use this filter to select Idaho (All) or PHD
Maternal Pre-Pregnancy BMI                                                2017                                       All


                                                          2017 All Idaho Resident Births: 22,159
                                                               Maternal Pre-Pregnancy BMI

                         Underweight                          Normal weight                      Overweight                            Obese

                              682                                 9,885                            5,674                               5,704
                             3.1%                                 45.0%                            25.9%                               26.0%


        Directions for using table filter: click on category value in table above to filter value into bar graph and Idaho PHD map data below; click on
                                                    category value in table a second time to de-activate filter.

 AGE
 0-14                      10                                                                        Idaho Resident Public Health Districts (PHD)
                                                                                                               Hover pointer over map for PHD data
 15-17                     216

 18-19                     889

 20-24                          5,387

 25-29                               7,278

 30-34                           5,428
                                                                                                     PHD 1
 35-39                     2,466                                                                     2,594

 40+                       483


 MARITAL STATUS

 Married                                         15,928


 Not Married                     6,204
                                                                                                             PHD 2
                                                                                                             1,178
 ETHNICITY

 Non-Hispanic                                      18,485


 Hispanic                    3,596


 RACE                                                                                                                         PHD 7
 White                                               19,524                                                                   3,950
                                                                                                           PHD 4
                                                                                                           5,456
 Black                     332
                                                                                                   PHD 3
                                                                                                   3,845
 AIAN                      378

 API                       471                                                                                               PHD 5
                                                                                                                             2,772                PHD 6
 Other Race                1,375                                                                                                                  2,364

                            0            5,000       10,000      15,000       20,000       © 2022 Mapbox © OpenStreetMap
                                                     Number of Births
                 Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 8 of 14

                                                  Idaho Vital Statistics Natality Dashboard

                       VS Natality -                 VS Natality - Data       VS Natality - Rate      VS Natality - Age         VS Natality -
                       Introduction                  Results, 2010-2020       Trends, 2010-2020       Rate Trends,              Technical Notes
                                                                                                      2010-2020




Birth, Infant and Demographic Data

Category                                                                  Year                                       Location
Use this filter to select category                                        Use this filter to select year             Use this filter to select Idaho (All) or PHD
Maternal Pre-Pregnancy BMI                                                2016                                       All


                                                          2016 All Idaho Resident Births: 22,462
                                                               Maternal Pre-Pregnancy BMI

                         Underweight                          Normal weight                      Overweight                            Obese

                                707                              10,525                            5,536                               5,492
                               3.2%                              47.3%                             24.9%                               24.7%


        Directions for using table filter: click on category value in table above to filter value into bar graph and Idaho PHD map data below; click on
                                                    category value in table a second time to de-activate filter.

 AGE
 0-14                      7                                                                         Idaho Resident Public Health Districts (PHD)
                                                                                                               Hover pointer over map for PHD data
 15-17                     279

 18-19                     890

 20-24                           5,578

 25-29                               7,168

 30-34                           5,690
                                                                                                     PHD 1
 35-39                     2,327                                                                     2,600

 40+                       522


 MARITAL STATUS

 Married                                         16,254


 Not Married                     6,184
                                                                                                             PHD 2
                                                                                                             1,175
 ETHNICITY

 Non-Hispanic                                      18,767


 Hispanic                      3,613


 RACE                                                                                                                         PHD 7
 White                                               20,046                                                                   3,885
                                                                                                           PHD 4
                                                                                                           5,625
 Black                     296
                                                                                                   PHD 3
                                                                                                   3,911
 AIAN                      390

 API                       479                                                                                               PHD 5
                                                                                                                             2,821                PHD 6
 Other Race                1,140                                                                                                                  2,445

                            0            5,000       10,000     15,000        20,000       © 2022 Mapbox © OpenStreetMap
                                                    Number of Births
                 Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 9 of 14

                                                  Idaho Vital Statistics Natality Dashboard

                       VS Natality -                VS Natality - Data        VS Natality - Rate      VS Natality - Age         VS Natality -
                       Introduction                 Results, 2010-2020        Trends, 2010-2020       Rate Trends,              Technical Notes
                                                                                                      2010-2020




Birth, Infant and Demographic Data

Category                                                                  Year                                       Location
Use this filter to select category                                        Use this filter to select year             Use this filter to select Idaho (All) or PHD
Maternal Pre-Pregnancy BMI                                                2015                                       All


                                                          2015 All Idaho Resident Births: 22,832
                                                               Maternal Pre-Pregnancy BMI

                         Underweight                          Normal weight                      Overweight                            Obese

                              733                                10,755                            5,734                               5,489
                             3.2%                                47.4%                             25.2%                               24.2%


        Directions for using table filter: click on category value in table above to filter value into bar graph and Idaho PHD map data below; click on
                                                    category value in table a second time to de-activate filter.

 AGE
 0-14                      11                                                                        Idaho Resident Public Health Districts (PHD)
                                                                                                               Hover pointer over map for PHD data
 15-17                     299

 18-19                     986

 20-24                           5,734

 25-29                               7,336

 30-34                           5,597
                                                                                                     PHD 1
 35-39                     2,375                                                                     2,652

 40+                       494


 MARITAL STATUS

 Married                                         16,492


 Not Married                     6,308
                                                                                                             PHD 2
                                                                                                             1,219
 ETHNICITY

 Non-Hispanic                                      19,122


 Hispanic                    3,643


 RACE                                                                                                                         PHD 7
 White                                               20,448                                                                   3,984
                                                                                                           PHD 4
                                                                                                           5,679
 Black                     267
                                                                                                   PHD 3
                                                                                                   3,965
 AIAN                      370

 API                       495                                                                                               PHD 5
                                                                                                                             2,777                PHD 6
 Other Race                1,164                                                                                                                  2,556

                            0            5,000       10,000     15,000        20,000       © 2022 Mapbox © OpenStreetMap
                                                    Number of Births
                Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 10 of 14

                                                 Idaho Vital Statistics Natality Dashboard

                       VS Natality -                VS Natality - Data        VS Natality - Rate      VS Natality - Age         VS Natality -
                       Introduction                 Results, 2010-2020        Trends, 2010-2020       Rate Trends,              Technical Notes
                                                                                                      2010-2020




Birth, Infant and Demographic Data

Category                                                                  Year                                       Location
Use this filter to select category                                        Use this filter to select year             Use this filter to select Idaho (All) or PHD
Maternal Pre-Pregnancy BMI                                                2014                                       All


                                                          2014 All Idaho Resident Births: 22,888
                                                               Maternal Pre-Pregnancy BMI

                         Underweight                          Normal weight                      Overweight                            Obese

                                817                              11,055                            5,643                               5,317
                               3.6%                              48.4%                             24.7%                               23.3%


        Directions for using table filter: click on category value in table above to filter value into bar graph and Idaho PHD map data below; click on
                                                    category value in table a second time to de-activate filter.

 AGE
 0-14                      7                                                                         Idaho Resident Public Health Districts (PHD)
                                                                                                               Hover pointer over map for PHD data
 15-17                     311

 18-19                     991

 20-24                           6,146

 25-29                               7,225

 30-34                           5,474
                                                                                                     PHD 1
 35-39                     2,262                                                                     2,615

 40+                       471


 MARITAL STATUS

 Married                                         16,522


 Not Married                     6,354
                                                                                                             PHD 2
                                                                                                             1,180
 ETHNICITY

 Non-Hispanic                                      19,181


 Hispanic                      3,652


 RACE                                                                                                                         PHD 7
 White                                               20,455                                                                   3,969
                                                                                                           PHD 4
                                                                                                           5,751
 Black                     233
                                                                                                   PHD 3
                                                                                                   4,005
 AIAN                      380

 API                       473                                                                                               PHD 5
                                                                                                                             2,789                PHD 6
 Other Race                1,227                                                                                                                  2,579

                            0            5,000      10,000      15,000        20,000       © 2022 Mapbox © OpenStreetMap
                                                    Number of Births
                Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 11 of 14

                                                 Idaho Vital Statistics Natality Dashboard

                       VS Natality -                VS Natality - Data       VS Natality - Rate      VS Natality - Age         VS Natality -
                       Introduction                 Results, 2010-2020       Trends, 2010-2020       Rate Trends,              Technical Notes
                                                                                                     2010-2020




Birth, Infant and Demographic Data

Category                                                                 Year                                       Location
Use this filter to select category                                       Use this filter to select year             Use this filter to select Idaho (All) or PHD
Maternal Pre-Pregnancy BMI                                               2013                                       All


                                                         2013 All Idaho Resident Births: 22,348
                                                              Maternal Pre-Pregnancy BMI

                         Underweight                         Normal weight                      Overweight                            Obese

                              764                               10,874                            5,585                               5,047
                             3.4%                               48.8%                             25.1%                               22.7%


        Directions for using table filter: click on category value in table above to filter value into bar graph and Idaho PHD map data below; click on
                                                    category value in table a second time to de-activate filter.

 AGE
 0-14                      11                                                                       Idaho Resident Public Health Districts (PHD)
                                                                                                              Hover pointer over map for PHD data
 15-17                     311

 18-19                     1,115

 20-24                           5,853

 25-29                               7,282

 30-34                          5,190
                                                                                                    PHD 1
 35-39                     2,111                                                                    2,473

 40+                       469


 MARITAL STATUS

 Married                                        16,308


 Not Married                     6,040
                                                                                                            PHD 2
                                                                                                            1,157
 ETHNICITY

 Non-Hispanic                                     18,880


 Hispanic                    3,420


 RACE                                                                                                                        PHD 7
 White                                              20,029                                                                   3,852
                                                                                                          PHD 4
                                                                                                          5,594
 Black                     199
                                                                                                  PHD 3
                                                                                                  3,846
 AIAN                      380

 API                       460                                                                                              PHD 5
                                                                                                                            2,845                PHD 6
 Other Race                1,197                                                                                                                 2,581

                            0           5,000       10,000     15,000        20,000       © 2022 Mapbox © OpenStreetMap
                                                   Number of Births
                Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 12 of 14

                                                 Idaho Vital Statistics Natality Dashboard

                       VS Natality -                VS Natality - Data        VS Natality - Rate      VS Natality - Age         VS Natality -
                       Introduction                 Results, 2010-2020        Trends, 2010-2020       Rate Trends,              Technical Notes
                                                                                                      2010-2020




Birth, Infant and Demographic Data

Category                                                                  Year                                       Location
Use this filter to select category                                        Use this filter to select year             Use this filter to select Idaho (All) or PHD
Maternal Pre-Pregnancy BMI                                                2012                                       All


                                                          2012 All Idaho Resident Births: 22,941
                                                               Maternal Pre-Pregnancy BMI

                         Underweight                          Normal weight                      Overweight                            Obese

                                770                              11,263                            5,663                               5,172
                               3.4%                              49.3%                             24.8%                               22.6%


        Directions for using table filter: click on category value in table above to filter value into bar graph and Idaho PHD map data below; click on
                                                    category value in table a second time to de-activate filter.

 AGE
 0-14                      9                                                                         Idaho Resident Public Health Districts (PHD)
                                                                                                               Hover pointer over map for PHD data
 15-17                     391

 18-19                     1,176

 20-24                           6,269

 25-29                               7,309

 30-34                           5,312
                                                                                                     PHD 1
 35-39                     2,002                                                                     2,499

 40+                       470


 MARITAL STATUS

 Married                                         16,674


 Not Married                     6,267
                                                                                                             PHD 2
                                                                                                             1,252
 ETHNICITY

 Non-Hispanic                                      19,388


 Hispanic                      3,491


 RACE                                                                                                                         PHD 7
 White                                               20,522                                                                   4,055
                                                                                                           PHD 4
                                                                                                           5,644
 Black                     196
                                                                                                   PHD 3
                                                                                                   3,907
 AIAN                      438

 API                       446                                                                                               PHD 5
                                                                                                                             2,881                PHD 6
 Other Race                1,245                                                                                                                  2,703

                            0            5,000      10,000      15,000        20,000       © 2022 Mapbox © OpenStreetMap
                                                    Number of Births
                Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 13 of 14

                                                 Idaho Vital Statistics Natality Dashboard

                       VS Natality -               VS Natality - Data        VS Natality - Rate      VS Natality - Age         VS Natality -
                       Introduction                Results, 2010-2020        Trends, 2010-2020       Rate Trends,              Technical Notes
                                                                                                     2010-2020




Birth, Infant and Demographic Data

Category                                                                 Year                                       Location
Use this filter to select category                                       Use this filter to select year             Use this filter to select Idaho (All) or PHD
Maternal Pre-Pregnancy BMI                                               2011                                       All


                                                         2011 All Idaho Resident Births: 22,311
                                                              Maternal Pre-Pregnancy BMI

                         Underweight                         Normal weight                      Overweight                            Obese

                              745                               11,137                            5,522                               4,837
                             3.3%                               50.1%                             24.8%                               21.7%


        Directions for using table filter: click on category value in table above to filter value into bar graph and Idaho PHD map data below; click on
                                                    category value in table a second time to de-activate filter.

 AGE
 0-14                      15                                                                       Idaho Resident Public Health Districts (PHD)
                                                                                                              Hover pointer over map for PHD data
 15-17                     385

 18-19                     1,199

 20-24                           6,112

 25-29                               7,139

 30-34                          5,100
                                                                                                    PHD 1
 35-39                     1,917                                                                    2,368

 40+                       442


 MARITAL STATUS

 Married                                        16,413


 Not Married                     5,898
                                                                                                            PHD 2
                                                                                                            1,144
 ETHNICITY

 Non-Hispanic                                     18,794


 Hispanic                    3,467


 RACE                                                                                                                        PHD 7
 White                                             19,983                                                                    3,917
                                                                                                          PHD 4
                                                                                                          5,760
 Black                     203
                                                                                                  PHD 3
                                                                                                  3,778
 AIAN                      373

 API                       423                                                                                              PHD 5
                                                                                                                            2,754                PHD 6
 Other Race                1,260                                                                                                                 2,590

                            0           5,000       10,000     15,000        20,000       © 2022 Mapbox © OpenStreetMap
                                                   Number of Births
                Case 1:22-cv-00329-BLW Document 17-13 Filed 08/08/22 Page 14 of 14

                                                Idaho Vital Statistics Natality Dashboard

                       VS Natality -               VS Natality - Data        VS Natality - Rate      VS Natality - Age         VS Natality -
                       Introduction                Results, 2010-2020        Trends, 2010-2020       Rate Trends,              Technical Notes
                                                                                                     2010-2020




Birth, Infant and Demographic Data

Category                                                                 Year                                       Location
Use this filter to select category                                       Use this filter to select year             Use this filter to select Idaho (All) or PHD
Maternal Pre-Pregnancy BMI                                               2010                                       All


                                                         2010 All Idaho Resident Births: 23,202
                                                              Maternal Pre-Pregnancy BMI

                         Underweight                         Normal weight                      Overweight                            Obese

                              826                               11,256                            5,852                               5,167
                             3.6%                               48.7%                             25.3%                               22.4%


        Directions for using table filter: click on category value in table above to filter value into bar graph and Idaho PHD map data below; click on
                                                    category value in table a second time to de-activate filter.

 AGE
 0-14                      13                                                                       Idaho Resident Public Health Districts (PHD)
                                                                                                              Hover pointer over map for PHD data
 15-17                     505

 18-19                     1,359

 20-24                           6,331

 25-29                               7,569

 30-34                          5,050
                                                                                                    PHD 1
 35-39                     1,937                                                                    2,478

 40+                       438


 MARITAL STATUS

 Married                                        17,059


 Not Married                     6,143
                                                                                                            PHD 2
                                                                                                            1,166
 ETHNICITY

 Non-Hispanic                                     19,528


 Hispanic                    3,637


 RACE                                                                                                                        PHD 7
 White                                              20,836                                                                   4,067
                                                                                                          PHD 4
                                                                                                          5,663
 Black                     175
                                                                                                  PHD 3
                                                                                                  3,937
 AIAN                      407

 API                       429                                                                                              PHD 5
                                                                                                                            3,018                PHD 6
 Other Race                1,288                                                                                                                 2,873

                            0           5,000      10,000      15,000        20,000       © 2022 Mapbox © OpenStreetMap
                                                  Number of Births
